     Case 2:06-cr-02121-RHW            ECF No. 991       filed 12/28/10     PageID.4756 Page 1 of 1



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 6
                               UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
 9    UNITED STATES OF AMERICA,

10               Plaintiff,                                NO. CR-06-2121-RHW-1

11               v.
                                                           ORDER DENYING
12    PEDRO SILVA CHIPREZ,                                 DEFENDANT’S MOTION TO
                                                           DISMISS
13               Defendant.

14
            Before the Court is Defendant’s Motion to Dismiss Case (Ct. Rec. 978),
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     filed by Defendant himself, despite the fact that he is currently represented by
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     counsel. As the Court has previously informed Defendant, the Court can only
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     consider motions filed through counsel. The motion is therefore denied, with leave
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     to renew through counsel.
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            Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to
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     Dismiss Case (Ct. Rec. 978) is DENIED with leave to renew through counsel.
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            IT IS SO ORDERED. The District Court Executive is directed to enter this
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     Order and to provide copies to counsel.
23
            DATED this 28th day of December, 2010.
24
25
                                          s/Robert H. Whaley
26                                      ROBERT H. WHALEY
                                       United States District Judge
27
28   Q:\CRIMINAL\2006\06-2121 (Chiprez)\1 Pedro_Silva_Chiprez\denydismiss.ord.wpd



     ORDER DENYING DEFENDANT’S MOTION TO DISMISS * 1
